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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


D&Z AUCTION RESELLERS, LLC AND
GUSTAVO A. MORENO PONCE
                                                        CASE NO. 3:19-cv-01242- WGY
Plaintiffs
                                                        Copyright Infringement
v.                                                      Violation of Digital Millenium Act
                                                        Computer Fraud and Abuse
MEDI DATA CORPORATION, ET AL.
                                                        Jury Trial Requested
Defendants




                              MOTION FOR CLARIFICATION

TO THE HONORABLE COURT:

        COMES NOW defendant Virna L. Martínez d/b/a Farmacia Campo Alegre, through the

undersigned legal representation and, without submitting or consenting to the jurisdiction of

the Court, very respectfully state, request and pray:

        1.     On 08/23/2029 the appearing party filed a motion pursuant to FRCP 12(b)(5)

requesting dismissal of the present action, on the grounds of insufficient service of process and

lack of in personam jurisdiction. See DKT 62.

        2.     On 10/21/20 this Honorable Court notified an order setting the date (11/17/20 at

3:00pm) for a hearing on the aforementioned motion, as well as on various other pending

dispositive motions. See DKT 124.

        3.     However, the order is not clear as to the type of hearing, specifically, if it is going

to be argumentative or evidentiary in nature.




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       4.      In light of the foregoing, the appearing party respectfully requests that the order at

DKT 124 be clarified as to the nature of the hearing, since if it shall be an evidentiary hearing,

various arrangements for the appearance of witnesses must be made.

       WHEREFORE, Defendant respectfully requests that this Honorable Court acknowledges

the facts stated herein and grants this motion, clarifying the nature of the hearing set for 11/17/20.

       I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to all counsel of record.

       RESPECTFULLY SUBMITTED./

               In Guaynabo, Puerto Rico, this 4th day of November, 2020.


                                       s/RICARDO CASTRO VARGAS
                                       USDC/PR NO. 228,314

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